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Appendix F – [Proposed] Verdict Form


                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN

 and                                                Civil Action No. 21-3354 (BAH)

 WANDREA MOSS,
                                                    Judge Beryl A. Howell
                      Plaintiffs,

        v.

 RUDOLPH W. GIULIANI,

                      Defendant.




                              [PROPOSED] VERDICT FORM

       We, the Jury, unanimously find as follows:

COMPENSATORY DAMAGES:

What amount do you award Plaintiffs against Defendant Rudolph W. Giuliani as compensatory
damages for defamation caused by Defendant Giuliani and his co-conspirators?

                             AMOUNT: $ ____________________________

What amount do you award Plaintiffs against Defendant Rudolph W. Giuliani as compensatory
damages for emotional distress inflicted by Defendant Giuliani and his co-conspirators?

                             AMOUNT: $ ____________________________

PUNITIVE DAMAGES:

What amount do you award Plaintiffs against Defendant Rudolph W. Giuliani as punitive
damages?

                             AMOUNT: $ ____________________________


DATED: December _____, 2023                                ______________________________
                                                           Signature of Foreperson
